Case 1:03-cV-01025-.]DB-tmp Document 42 Filed 04/22/05 Page 1 of 4 Page|D 67

IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF TENNESSEE

WESTERN DIVISION

05 ¢191"~? 22 PH d d_

 

OTTOWAY MURPHY.
Plaintiff.
v.
PRISON REALTY TRUST, et al.,

Defendants

FTGDLEH *-g_ D£ /’{{'O

CIEH& U3 D 'T
W.D GF-' TN, M‘: :viPH|S

Civil NO. 03-1025 BP

 

ORDER GRANTING JOINT MOTION TO MODIFY SCHEDULING ORDER

 

Before the court is the parties' joint motion to modify the

scheduling order, filed April 14, 2005. On April 22, 2005, the

court held a telephonic hearing on the motion. Counsel for all

parties were present and heerd. For good cause shown, the motion

is GRANTED. The scheduling order is hereby amended as follows:
Close of discovery: by July ll, 2005
Dispositive motions: due July 22, 2005
Response: due August 15, 2005
Reply: due August 26, 2005
_]__ F\

Th s document cr cer nn +he docket sheet n co priance
Wi`th Hu|e 58 am.=- 01 .'"`: ”P nn ~J 0

Case 1:03-cV-01025-.]DB-tmp Document 42 Filed 04/22/05 Page 2 of 4 Page|D 68

All other dates, including the trial date, shall remain the

Sam€ .

IT IS SO ORDERED.

TU M. Pm
United States Magistrate Judge

“//2-2~,/ O>"

Datel

 

oF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 42 in
case 1:03-CV-01025 Was distributed by faX, mail, or direct printing on
Apri125, 2005 to the parties listed.

 

Terry Williams

LAW OFFICES OF TERRY WILLIAMS
206 S. Third

Delavan, WI 531 15

.1 oseph F. Welborn

WALKER BRYANT TIPPS & MALONE
150 Fourth Ave.7 N.

Ste. 2300

Nashville, TN 37219

Wayne A. Ritchie

RITCH[E FELS & DILLARD, P.C.
606 W. Main St.

Ste. 300

KnoX\/ille7 TN 37901--112

Robert W. Ritchie

RITCH[E FELS & DILLARD, P.C.
606 W. Main St.

Ste. 300

KnoX\/ille7 TN 37901

.1 ames 1. Pentecost

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson7 TN 38305

Brandon O. Gibson

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson7 TN 38305

W. Gaston Fairey

FAIREY PARISE & 1\/HLLS7 P.A.
P.O. Box 8443

Columbia, SC 29202

Case 1:03-cV-01025-.]DB-tmp Document 42 Filed 04/22/05 Page 4 of 4 Page|D 70

K. Michelle Booth

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson7 TN 38305

Honorable .1. Breen
US DISTRICT COURT

